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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

In re:

Miracle Bass,                                                Chapter 7

         Debtor.                                             Case No.: 19-50264-SMS

Strategic Funding Source, Inc.,                              Ad. Pro. No. 19-05223-SMS
   d/b/a Kapitus, Inc.

                Plaintiff,
         v.

Miracle Bass,

                Defendant.



                                       NOTICE OF FILING

         Plaintiff, Strategic Funding Source, Inc. d/b/a Miracle Bass, gives notice of filing the

following attached Affidavits in Support of its Motion for Default Final Judgment:

         1.     Affidavit as to Amounts Due and Owing.

         2.     Non-Military Affidavit as to Miracle Bass.

         Dated: July 16, 2019.

                                              CARLTON FIELDS,P.A.


                                             /s/Justan C. Bounds
                                              Justan C. Bounds
                                              Georgia Bar No. 339789
                                             :bounds cr~,carltoniields.coin
                                              1201 West Peachtree Street -Suite 3000
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                                             Atlanta, Georgia 30309
                                             404-815-3400
                                             404-815-3415 (fax)

                                             AttorneysfoN PlaintiffStrategic Funding Sou~^ce,
                                              Inc. d/b/a Kapitus, Inc.




                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 16, 2019, I(1) electronically filed the foregoing with the

Clerk of Court by using the Court's CM/ECF system thereby serving any registered users in this

case and (2) served the foregoing via U.S. Mail to:

Miracle Bass
1022 Allegiance Drive
Locust Grove, GA 30248

Debtor/Defendant
                                             /s/Justan C. Bounds
                                             Justan C. Bounds
                                             Georgia Bar No. 339789
                                             jbounds@carltonfields.com
                                             1201 West Peachtree Street -Suite 3000
                                             Atlanta, Georgia 30309
                                             404-815-3400
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                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION


 In re:

 Miracle Bass,                                                    Chapter '7

            Debtor.                                               Case No.: 19-50264-SMS

 Strategic Funding Source, Inc.,                                  Ad. Pro. No. 19-05223-SMS
    d/b/a Kapitus, Inc.

                      Plaintiff,
            v,

 Miracle Bass,

                      Defendant.
                                                   l


                           AFFIDAVIT AS TO AMOUNTS DUE AND OWING

 STATE OF NEW YORK

 COUNTY OF NEW YORK

            BEFORE ME,the undersigned authority, personally appeared David Wolfson, who, after

 being first duly sworn, deposes and says that:

                 l.    I am the Vice President of Risk Management and Asset Recovery of Plaintiff.

  I have personal knowledge of the facts set forth in this Affidavit, I am over the age of

  eighteen (1 S) years, and I am competent and authorized to make this Affidavit.

             2.        Affiant is authorized to make this Affidavit on behalf of Plaintiff, Strategic

 funding Source, Inc., d/b/a Kapitus, Inc. In the regular performance of myjob functions, I



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  am familiar with business records maintained by Plaintiff, In connection with making this

   Affidavit, I have acquired knowledge of the matters stated herein by examining these

   business records.

                 3.   I understand that Miracle Bass (the "Debtor") is a natural person and was and

  is a resident of the state of Geoz•gia residing at 1022 Allegiance Drive, Locust Grove, GA

  30248.

                 4.   I understand that Bass LLC, d/b/a Bass BBQ-N-Soul Food ("Bass BBQ")is a

  Georgia corporation,

                 5.   I understand that at all times relevant hereto, the Debtor was and. is Bass BBQ's

   100% owner, the Debtor controlled Bass BBQ, and made all decisions and statements to

  Plaintiff relevant to the issues herein.

                 6.   Pursuant to the Revenue Based Factoring (RBF/ACH} A~neement dated April

   16, 2018, the Security Agreement and Guaranty, and Appendix A: regarding the Fee Structure,

   all of which aY•e expressly incorporated by reference into the Revenue Based Factoring

 (RBF/ACH) Agreement (collectively, the "Agreement"), Plaintiff purchased Bass BBQ's

   business receivables in the amount of $91,000.00 (the "Receipts Purchased Amount") in

  exchange for the purchase price of $70,000.00 (the "Purchase Price").               A copy of the

  Agreement is attached to the Complaint filed on June 4, 2019 (initiating the above-captioned

  adversary proceeding)(the "Complaint"), as Exhibit A.

                 7.   The Debtor si~med the Agreement in both his corporate capacity as

  owner/member, and in his individual capacity as guarantor.

                 8.   Under the Agreement, the Debtor and Bass BBQ agreed to irrevocably



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  authorize only ane depositiYlg account acceptable to Plaintiff(the "Account") to remit 17.1

 (the "Specified Percentage") of Bass BBQ's future receipts, accounts, contact rights and

  other obligations arising from or relating to the payment of monies from Bass BBQ's

  customers or third-party payors, whether paid by cash, check, electronic transfer or other

  method (collectively, the "Receivables"), until such time as Plaintiff receives payme~lt in full

  ofthe Receipts Purchased Amount.

                9.      The Debtor and Bass B.BQ also agreed end authorized Plaintiff to ACH Debit

 $505.00 (the "Specified Daily Amount"} from Bass BBQ's Account each business day until

  Plaintiff had received payment in full ofthe Receipts Purchased Amount.

                 10.    The Agreement further emphasized that "ANY MISREPRESENTATION

  MADE IiY MERCHANT OR OWNER IN CONNECTION WITH THIS AGREEMENT

  MAY CONSTITUTE A SEPARATE CAUSE OF ACTION FOR FRAUD OR

  INTENTIONAL FRAUDULENT INDUCEMENT TO                                      OBTAIN      FINANCING."

  Agreement at p. 2(emphasis in original).

                1 1.    Plaintiffjustifiably relied on these representations by the Debtor and Bass BBQ

  in agreeing to transfer the Purchase Price to Bass BBQ.

            ]2.         The Debtor and Bass BBQ also made the following representations and

  warranties to Plaintiff via the Agreement, each of which Plaintiff relied upon to lend money to

  z. ::•

                       2.1     Financial Condition and tin~r~ci I T~~t•rt~~~~s~~. (Merchant
                       represents, warrants and covenants that as of this date and during the term
                       of this Agreement:] [i]ts bank and financial statements, copies of which
                       have been furnished to SFS, and future statements which will be furnished
                       hereafter at the discretion of SFS, fairly represent the financial condition
                       of Merchant at such dates, and since those dates there has been no material


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                     adverse changes, financial or otherwise, in such condition, operation or
                     ownership of Merchant. Merchant has a continuing, affirmative obligation
                     to advise SFS of any material adverse change in its financial condition,
                     operation or ownership. SFS tnay request statements at any time during
                     the performance of this Agreement and the Merchant shall provide them to
                     SFS within 5 business days. Merchant's failure to do so is a material
                     breach of this Agreement.

                     2.7    i:3<~il r ~a~~~ C~~at.   Merchant will batch out receipts with the
                     Processor on a daily basis.

                     29       N~~ ~~~~kr~tt~~ttcy ~~~• [~~sc~l~,~~~~~. As of the date of this Agreement,
                     Merchant represents that it is not insolvent and does not contemplate and
                     has not filed any petition for bankruptcy protection under Title 11 of the
                     United States Code and there has been no involuntary petition brought or
                     pending against Merchant. Merchant further warrants that it does not
                     anticipate filing any such bankruptcy petition and it does not anticipate
                     that an involuntary petition will be filed against it. In the event that the
                     Merchant files for bankruptcy protection or is placed under an involuntary
                     filing Protections 2 and 3 are imz~ediately invoked.

                     2.10 e~.~tliti~~x~~[ ~+i~~a~~~~~rt~. Merchant shall not enter into any
                     arrangement, agreement ar commitment for any additional financing,
                     whether in the form of a purchase of receivables or a loan to the
                     business with any party other than SFS without their written
                     permission.

                     2.11 tlt~~.~~~~~~~~ ~•c:t ~tcc:eit~t~. Merchant has good, complete and marketable
                     title to all Receipts, free and clear of any and all liabilities, liens, claims, changes,
                     restrictions, conditions, options, rights, mortgages, security interests, equities,
                     pledges and encumbrances of any kind ar nature whatsoever or any other rights or
                     interests that znay be inconsistent with the transactions contemplated with ar
                     adverse to the interest of SFS.

                     2.12 ~t~w
                            ~3~~~ir   r~~~►~ t~~a~. Merchant is a valid business in good standing under
                     the laws of the jurisdictions in which. it is organized and/or operates, and
                     Merchant is entering into this Agreement for business purposes and not as a
                     consumer for personal, family ar household purposes.


               13.    Prior to the transferring the Purchase Price to Bass BBQ on April 18, 2018,

  the Debtor stated to Plaintiff, on a recorded Pre-Funding call, that Bass BBQ awed no

  balance to another working-capital provider and was not in arrears on any business


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  obligations. The Debtor also stated that he did not anticipate closing Bass BBQ for any

  reason over the next 12 months. In addition, the Debtor stated that he was not planning to file

  for bankruptcy and that he was unaware of any reason to believe that Bass BBQ or the

  Debtor would need to file for Bankruptcy protection in the foreseeable future. The Debtor

  acknowledged that any untruthful statement he made an the call could give rise to a fraud

  claim. The relevant portions ofthe Pre-Funding call are transcribed below;

            Plaintiff Representative: "llo you anticipate on closing your business for any reason

            over the next 12 months including planned vacations, renovations, seasonalities or

            slow business periods?"

            Debtor: "No."



            Plaintiff Representative: "Have you been planning to file or do you know of a71y

            reason to believe that your business will need to file for bankruptcy protection in the

            foreseeable future?"

            Debtor:"No ma'am."



            Plaintiff Representative: "Are you in arrears on any loans or with any financial

            institutions?"

            Debtor:"No ma'am."



            Plaintiff Representative: "Do you currently have a balance with any other working-

            capital provider?"



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                Debtor:"No ma'am."



                Plaintiff Representative: "Do      you recognize that any false statement ar

                misrepresezltation may constitute fraud and could subject you to legal action?

                Debtor:"Yes ma'am."

                14.    Upon information and belief, at the time the A~~reement was being negotiated,

  Bass BBQ had one or more outstanding balances owed to at least one working-capital

  provider and was behind on payments to financial institutions and other creditors.                 In

  addition, other representations by the Debtor in tl~e Agreement maybe inaccurate.

                1 S.   According to Debtor's Schedules E/F (Doc. No. 1), Debtor owes Collinear

  Funding Netwo~•k $62,000. UpoiY information and belief, Collinear runding Network is a

  working capital provider, and this Debt is likely also owed by Bass BBQ. Upon information

  and. belief, the Debtor and Bass BBQ owed an outstanding balance to Collinear Funding

  Network at the tithe the Debtor executed the Agreement and participated in the Pre-Funding

  call. Alternatively, Bass BBQ and the Debtor entered into an arrangement, dgreemant, or

  commitment with Collinear Funding Network in the form of a purchase of receivables or a

  loan to the business subsequent to executing the Agreement, and did not obtain Kapitus'

  written permission to do so.

                16.    Debtor also lists a $10,000 claim for First Data Merchant Services, LLC.

  Upon information and belief, First Data Merchant Services, LLC is a working capital

  provider, and this debt is also owed by Bass BBQ. Upon information and belief, the Debtor

  and Bass BBQ owed an outstanding balance to First Data Merchant Services, LLC at the time



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  the Debtor executed the Agreement and participated in the Pre-Funding call. Alternatively,

  Bass BBQ and the Debtor entered into an arrangerrient, agreement, or commitment with First

  Data Merchant Services, LLC in the form of a purchase of receivables or a loan to the

  business subsequent to executing the Agreement, and did not obtain Kapitus' written

  pern~ission to do so.

                 17.   Debtor also awes a substantial debt to the Georgia Department of Revenue in

   the amount of $2,763,140.13("DOR Claim"). See POC #2-1. The DOR Claim is for "saps"

   taxes dating back to 2012. Upa~1 infoi7nation and belief, the DOR Claim is a joint debt with

  Bass BBQ, and was an outstanding and significant debt awed by the Debtor and Bass BBQ

   at the time the Debtor executed the Agreement and participated in the Pre-Funding Call.

                 18.   Similarly, Debtor owes a substantial debt to the Izlternal Revenue Service, and

   lists a $60,000 claim on his Schedules E/F ("IRS Claim"). Upon information and belief, the

  IRS Claim is a joint debt with Bass BBQ that was outstanding at the time the Debtor

  executed the Agreement and participated in the Pre-Funding Call.

                 19.   Despite stating that he did nat anticipate closing his business within the next

  twelve months during the Pre-Funding call. conducted on April 18, 2018, upon information

  and belief, Debtor closed or sold Bass BBQ on or before December 2Q18.

                 20.   Further, Debtor represented and warranted in the Agreement that Bass BBQ

  was not insolvent, and that the financial statements he provided in support of the Agreement

  fairly represented the financial condition of Bass BBQ. These warranties and representations

  were knowingly false, as Bass BBQ had si~iificant tax issues dating back to at least 2012

  that were knowingly and intentionally not revealed to Kapitus.



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                   21.       Plaintiff is entitled to recover its attorney's fees in connection to this dispute

   pursuant to Section 3.3 ofthe Agreement. The breakdown of Plaintiff's claim is as follows:

                   Judgment                                                                             $64,452.18

                   Interest @ 6% (Virginia Legal Rate}                                                   $1,973.23

                   from 1/16/19 to 7/16/19

                   Total Claim                                                                         $66,425.41



                   22.       The Debtor perso~~ally guaranteed Bass BBQ's full performance of all terms

   and obligations under the Agreement. Agreement, p. 6-7.

                   23.       The Plaintiff is owed the above sums pursuant to a April 16, 2018 Revenue

   Based Factoring Agreement, plus postjudgment interest.

               FURTHER AFT~IANT SAYETH NOT.                                         ,~',



                                                                  David Wolfsan~

 STATE OF NEW YORK
 COUNTY OF NEW YORK

               Si~med and sworn to (or affirmed before me on                    / ~ ~'J    ~ (date) by David
 Wolfson.

        ~ _.             f
                                   (Signature)                           (STAMP OR SEAL}
 I'~c~t ~~•~- l~'~t~~lic (e~~ ti~l~/rank of other officer)                             S HANTELBOYD
                                                                           N OTARY PUBLIC-STATE
                                                                                                     OF NEW YORK
                                                                                       N o. O1 806364530
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                                                                                                        County
                                                                            M y Commi,sion Expires
                                                                                                       09-18-2021




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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


In re:

Miracle Bass,                                                Chapter 7

          Debtor.                                            Case No.: 19-50264-SMS

Strategic Funding Source, Inc.,                              Ad. Pro. No. 19-05223-SMS
   d/b/a Kapitus, Inc.

                Plaintiff,
          v.

Miracle Bass,

                 Defendant.


         NON-MILITARY AFFIDAVIT REGARDING DEFENDANT MIRACLE BASS

          BEI~ORE ME,the undersigned authority, personally appeared Donald R. Kirk, who, after

being first duly sworn, deposes and says that:

          1.    I am the Attorney for the Plaintiff. I have personal knowledge of the facts set

forth in this Affidavit, I am over the age of eighteen (18) years, and I am competent and

authorized to make this Affidavit.

          2.     According to Michael V. Sorrento, Director of Defense-Manpower Data Center,

Defendant, Miracle Bass, is not in the military service of the United States. See Military Status

Report attached hereto as Exhibit A.

          3.     Defendant, Miracle Bass, was not on active duty at the time of service of process

herein, is not now on active duty in the armed services ofthe United States, and is not entitled to


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the relief afforded by the Soldiers and Sailors Civil Relief Act of 1940, 50 U.S.C. § 501, et seq.


         This ends my affidavit.


                                                                       Donald R. Kirk


STATE OF FLORIDA        )
COUNTY OF  HILLSBOROUGH )

         The foregoing instrument was sworn to and subscribed before me this ~~day of July
      2019, by Donald R. Kirk, who is personally known to me, and acknowledges that he signed
the foregoing Affidavit and that the contents of same are true and correct to the best of his
knowledge and belie£


My Commission Expires: ,                                               Printed Name:
                                                                       Notary Public      ~   •
                                                                       State of Florida

                 ,
                 ..~•;~~~ %~~;•         KARLY A.THOMPSON
                  ?o+~~n     ~'-,=:
                                    Notary Public - State of Florida
                :•«           »•      Commission p GG 136032
                 ~^,"' t,~vY:` MyComm.ExpiresOct23,2021
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                                Exhibit A




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                                                                        Document      Page 14 of 15             Results as of :Jul-16-2019 12:02:38 PM
Department of Defense Manpower Data Center
                                                                                                                                                                                                 SCRA 4.11



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SSN:                          XXX-XX-5094
Birth Date:                   May-XX-1973
Last Name:                    BASS
First Name:                   MIRACLE
Middle Name:                  K
Status As Of:                 Jul-16-2019
Certificate ID:               RYZB4HKX6R6LND7

                                                                                  On Active ~,iry r)i~ l~ctive Duty Status Date
           Artivc Duly Start Dato                                  ~ctWe Duty C~id Daic                                           Status                                    Sv:rvic~ Camponenf

                   NA                                                      NA                                                      Nn                                             NA
                                                         This response rr Hers the individuals' active duty status based on the ~cf~ve Duty St,alus Date




                                                                          Left ~ -live Uuty ldlthin 367 Days of Aztivs Dut y SfaWs Da{e

           Active Duty Start DatE                                   ~ ~Gve Duty End Date                                          Status                                    Service Oomporent
                   NA                                                      NA                                                      No                                             NA
                                        This response reflects where t ie i i 1 .dual left i ~ti i~: duN status within ti r ~ ,y; prey ,du~~ the Active, puty Status Date




                                                The MemberorNis/Her U tit ~ ~ ~ vs h;oGnod of a Future Call-Up to!c+lve Duty ~r nrtivo Dut States Date
        Order Notification Start Date                         '. ArderNotifcahon End Datc                                         Status                                    Service Component
                   NA                                                      NA                                                     No                                              NA
                                           This response reFlects whether the indvidu~l or his/her i i it I ~~e «~cel c d Barry notification to report for active duty



Upon searching the data banks of the Department of Defense Manpower Data Ce~~ter; based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force, NOAH, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notifcation of future orders to report for Active Duty.


                                                  ~,,~




Michael V. Sorrento, Director
Department of Defense -Manpower Data Center
400 Gigling Rd.
Seaside, CA 93955
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The Defense Manpower Data Center(DMDC)is an organization of the Department of Defense (DoD)that maintains the Defense Enrollment and Eligibility
Reporting System (DEERS)database which is the official source of data on eligibility for military medical care and other eligibility systems.

The DoD strongly supports the enforcement of the Servicemembers Civil Relief Act(50 USC App. ? 501 et seq, as amended)(SCRA)(formerly known as
the Soldiers' and Sailors' Civil Relief Act of 1940). DMDC has issued hundreds of thousands of "does not possess any information indicating that the
individual is currently on active duty" responses, and has experienced only a small error rate. In the event the individual referenced above, or any family
member, friend, or representative asserts in any manner that the individual was on active duty for the active duty status date, or is otherwise entitled to the
protections of the SCRA, you are strongly encouraged to obtain further verification of the person's status by contacting that person's Service. Service contact
information can be found on the SCRA website's FAQ page (Q33) via this URL: https://scra.dmdc.osd.mil/faq.xhtml#Q33. If you have evidence the person
was on active duty for the active duty status date and you fail to obtain this additional Service verification, punitive provisions of the SCRA may be invoked
against you. See 50 USC App. ? 521(c).

This response reflects the following information: (1) The individual's Active Duty status on the Active Duty Status Date (2) Whether the individual left Active
Duty status within 367 days preceding the Active Duty Status Date (3) Whether the individual or his/her unit received early notification to report for active
duty on the Active Duty Status Date.


More information on "Active Duty Status"
Active duty status as reported in this certificate is defined in accordance with 10 USC ? 101(d)(1). Prior to 2010 only some of the active duty periods less
than 30 consecutive days in length were available. In the case of a member of the National Guard, this includes service under a call to active service
authorized by the President or the Secretary of Defense under 32 USC ? 502(f)for purposes of responding to a national emergency declared by the
President and supported by Federal funds. All Active Guard Reserve (AGR) members must be assigned against an authorized mobilization position in the
unit they support. This includes Navy Training and Administration of the Reserves (TARs), Marine Corps Active Reserve (ARs)and Coast Guard Reserve
Program Administrator (RPAs). Active Duty status also applies to a Uniformed Service member who is an active duty commissioned officer of the U.S.
Public Health Service or the National Oceanic and Atmospheric Administration (NOAH Commissioned Corps).


Coverage Under the SCRA is Broader in Some Cases
Coverage under the SCRA is broader in some cases and includes some categories of persons on active duty for purposes of the SCRA who would not be
reported as on Active Duty under this certificate. SCRA protections are for Title 10 and Title 14 active duty records for all the Uniformed Services periods.
Title 32 periods of Active Duty are not covered by SCRA, as defined in accordance with 10 USC ? 101(d)(1).

Many times orders are amended to extend the period of active duty, which would extend SCRA protections. Persons seeking to rely on this website
certification should check to make sure the orders on which SCRA protections are based have not been amended to extend the inclusive dates of service.
Furthermore, some protections of the SCRA may extend to persons who have received orders to report for active duty or to be inducted, but who have not
actually begun active duty or actually reported for induction. The Last Date on Active Duty entry is important because a number of protections of the SCRA
extend beyond the last dates of active duty.

Those who could rely on this certificate are urged to seek qualified legal counsel to ensure that all rights guaranteed to Service members under the SCRA
are protected

WARNING: This certificate was provided based on a last name, SSN/date of birth, and active duty status date provided by the requester. Providing
erroneous information will cause an erroneous certificate to be provided.
